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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



AFSANEH AZADEH                          )
                                        )
                                        )
                    Plaintiff           )
                                        )           Civil Action No.: 16-CV-1467
             v.                         )
                                        )
THE GOVERNMENT OF THE                   )
ISLAMIC REPUBLIC OF IRAN,               )
                                        )
                                        )
             and                        )
                                        )
THE ARMY OF THE GUARDIANS               )
OF THE ISLAMIC REVOLUTION               )
                                        )
                                        )
                    Defendants          )
                                        )

PLAINTIFF’S NOTICE OF SUPPLEMENTAL LEGAL AUTHORITY IN SUPPORT OF
                HER MOTION FOR DEFAULT JUDGMENT

        Plaintiff, through undersigned counsel, respectfully submits her Notice of Supplemental

Legal Authority. On September 29, 2017, the U.S. District Court for the District of Columbia

decided Hekmati v. Islamic Republic of Iran, No. 16-00875, 2017 WL 4386900 (D.D.C. Sept.

29, 2017).

        Like Ms. Azadeh, the plaintiff in Hekmati was tortured in Iran in Evin Prison. The Court

awarded Mr. Hekmati $10 million in post-release pain and suffering based upon Hekmati’s life

expectancy and his expected level of suffering post-release. Id. at *12. Mr. Hekmati was 32

years old when he was released and was expected to live another 45 years with injuries that were

“likely to persist.” Id.



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       Ms. Azadeh had a life expectancy of over 40 years following her release in 2012. Pl.’s

Proposed Findings of Fact and Conclusion of Law, Ex. 12 at 2, June 26, 2017, ECF No. 14

(noting that Ms. Azadeh’s life expectancy is 83.8). Ms. Azadeh suffered both short-term and

long-term injuries post-release. In the short-term, she was forced to remain in Iran for 8 months

and constantly feared she would be rearrested and tortured again. Pl.’s Proposed Findings of

Fact and Conclusion of Law at 39-40. The long-term consequences of her torture are discussed

in Plaintiff’s Proposed Findings of Fact and Conclusions of Law. In light of the significance of

her continued suffering, and her life expectancy, an award of $11 million post-release pain and

suffering is appropriate and consistent with that awarded to Hekmati.

       At the plaintiff’s request, the court in Hekmati measured the plaintiff’s pain and suffering

during imprisonment using a $10,000 a day formula. See Hekmati, 2017 WL 4386900, at *12.

Use of the per diem formula resulted in an award of $16.02 million to Mr. Hekmati for pain and

suffering during imprisonment. As argued in the motion for default judgment here, application

of a rigid per diem formula in Ms. Azadeh’s case would not adequately compensate her for the

severity of her pain and suffering. Pl.’s Proposed Findings of Fact and Conclusion of Law at 36-

39. Accordingly, Ms. Azadeh has requested that a different measure of pain and suffering during

imprisonment be utilized in her case. See id.




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Dated: October 11, 2017                    Respectfully submitted,


                                            /s/ Kirby D. Behre
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